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                                                                                 FILED




                  IN THE UNITED STATES DISTRICT COURT
                                                                            4:48 pm, 3/6/25

                                                                         Margaret Botkins
                       FOR THE DISTRICT OF WYOMING                        Clerk of Court


WESTERN ENERGY ALLIANCE,
INDEPENDENT PETROLEUM
ASSOCIATION OF NEW MEXICO,
NEW MEXICO OIL & GAS
ASSOCIATION, NORTH DAKOTA
PETROLEUM COUNCIL,
PETROLEUM ASSOCIATION OF
WYOMING, and UTAH PETROLEUM
ASSOCIATION,

              Petitioners,

       vs.                                        Case No. 24-CV-100

DOUG BURGHAM, in her official
capacity as Secretary of the Interior, and
UNITED STATES BUREAU OF LAND
MANAGEMENT,

              Respondents,


CENTER FOR BIOLOGICAL
DIVERSITY, CITIZENS FOR A
HEALTHY COMMUNITY, FRIENDS
OF THE EARTH, MONTANA
ENVIRONMENTAL INFORMATION
CENTER, PRAIRIE HILLS AUDUBON
SOCIETY, SIERRA CLUB, and
WESTERN ORGANIZATION OF
RESOURCE COUNCILS,

              Intervenor-Respondents.


       ORDER GRANTING MOTION TO HOLD CASE IN ABEYANCE
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       Before the Court is Respondents’ Motion to Hold Case in Abeyance. [ECF No. 50].

Petitioners consent to this request, but Intervenor-Respondents oppose the request. [ECF

No. 51]. The Court, having carefully considered the parties’ filings and relevant law, grants

Respondents’ request.

       Respondents move the Court to hold this case in abeyance based on the recent

change in the executive branch. Since the case was filed, President Donald J. Trump was

elected and issued an executive order that encourages energy exploration on federal lands

and suspends, revises, or rescinds all agency actions that unduly burden the use of domestic

resources. See Exec. Order No. 14154, Unleashing American Energy, 90 Fed. Reg. 8353.

Recently-appointed Secretary of the Interior, Doug Burgum, issued a secretary order

implementing this policy. See Secretarial Order 3418. Because the Leasing Rule may be

amended or rescinded, Respondents request the Court defer judicial review in the interest

of justice and efficiency and for the new administration to familiarize itself with the issues.

[ECF No. 50, at 3]. Respondents propose a status report will be filed in sixty days. Id.

       Intervenor-Respondents oppose this request as premature because Respondents

have not indicated whether they will take any action with respect to the rule. [ECF No. 151,

at 2–3]. Further, Intervenor-Respondents contend Respondents’ familiarization with the

issues is not a justification for abeyance since the parties have fully briefed the matter and

there is nothing left other than the Court’s ruling. Id. at 3. Intervenor-Respondents also

claim there is still a live legal issue, namely “whether Department of Interior and BLM




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have the authority to regulate lands in the public interest and implement basic bonding and

fiscal reforms that would protect both taxpayers and public lands.” Id. at 3–4.

       “[T]he power to stay proceedings is incidental to the power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for

itself, for counsel, and for litigants.” Air Line Pilots Ass’n v. Miller, 523 U.S. 866, 879 n.6

(1998) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)). Courts routinely grant

abeyances when a new administration comes into office. E.g., U.S. House of

Representatives v. Burwell, 676 F. App’x 1 (D.C. Cir. 2016); Am. Petroleum Inst. v. U.S.

Env’t Prot. Agency, 683 F.3d 382, 389 (D.C. Cir. 2012) (“[T]o protect against the unlikely

and the unpredictable, we can hold the case in abeyance pending resolution of the proposed

rulemaking, subject to regular reports from [agency] on its status.”); Biden v. Sierra Club,

141 S. Ct. 1289 (2021) (granting abeyance despite the fact that briefs had already been

filed). As one commenter notes:

       Abeyances can help incoming administrations prevent the previous
       administration’s regulatory policies from receiving unwanted judicial
       legitimacy. In cases challenging regulatory policies, administrations can use
       abeyances to put off court decisions until agencies decide whether to repeal
       or amend the rule. Courts generally grant abeyances on the grounds that they
       “conserve judicial resources” when an agency is planning to rethink a
       rule, which would in turn render the pending suit moot. Even if the agency
       does not ultimately repeal the challenged rule, if the agency adopts changes
       to the rule the abeyance still potentially saves time, effort, and resources by
       narrowing the justiciable issues the court must address.

Bethany A. Davis Noll & Richard L. Revesz, Presidential Transitions: The New Rules, 39

Yale J. on Reg. 1100, 1120 (2022) (footnotes omitted).




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       Accordingly, the Court grants Respondents’ request that litigation be held in

abeyance. In the interest of judicial economy, the Court will not waste resources to uphold

or vacate the Leasing Rule if it will be later suspended, revised, or rescinded. Because

Respondents propose a sixty-day status report, the parties will be apprised of any progress

in a timely fashion.

       NOW, THEREFORE IT IS ORDERED Respondents Motion to Hold Case in

Abeyance [ECF No. 50] is GRANTED. The case is held in abeyance.

       IT IS FURTHER ORDERED Respondents shall file a status report on May 1, 2025,

and every 60 days thereafter. The Department of the Interior will further file a status report

on actions taken to implement the directives of Executive Order 13541 or Secretary’s Order

3418 within 180 days of the Court entering the abeyance. At any time before that date, any

party may request that the abeyance be lifted.

       Dated this 6th day of March, 2025.




                                    Kelly H
                                          H. Rankin
                                    United States District Judge




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